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    VIA ECF
    Honorable Lorna G. Schofield
    United States District Judge
    Southern District of New York
    500 Pearl Street
    New York, New York 10007

    Re:    Carmody v. New York University, et al., No. 1:21-cv-8186 (LGS)

Dear Judge Schofield,

Plaintiff writes to oppose Defendants’ pre-motion letter (ECF 48) for leave to file a motion for
summary judgment1 because genuine disputes over material facts require a denial of any such
motion. Defendants’ letter mischaracterizes and cherry-picks evidence2 while avoiding material
issues, and Defendants’ request should be denied for disregarding the facts and relevant law.

Background Facts: On December 6, 2020, Defendants summarily terminated Plaintiff Dr.
Kristin A. Carmody, M.H.P.E., from her hard-earned executive, clinical, and professorial
positions with NYU in an abrupt decision that destroyed her reputation, career, and personal life.
Document discovery and deposition testimony has confirmed that this termination followed
neither investigation nor applicable protocol, but rather followed NYU’s receipt of a single
patient letter drafted by an unreliable narrator which was both uncorroborated by medical records
and contradicted by the statements of numerous physicians within NYU’s emergency department
(ED). In a quintessential demonstration of pretext, the termination bases provided by Defendants
have shifted numerous times but never garnered support in fact nor justification for the manner
in which the termination was inflicted upon a highly regarded physician with no intent or motive
to commit wrongdoing. Documents suggest that Defendants’ real bases lie in deeply rooted
disdain for protected advocacy and misogynistic attitudes toward outspoken women that go
unchecked in a toxic environment powered by the arbitrary discretion of Defendants.
Defendants’ only support to the contrary—their own testimony—is undermined by conflicting
narratives and inconsistent contemporaneous documents.

Gender Discrimination Claims: Defendants do not deny that Plaintiff establishes the elements
of a prima facie case for gender discrimination other than the fourth and final element—an
inference of discrimination, see Terry v. Ashcroft, 336 F.3d 128, 138 (2d Cir. 2003)—and appear

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  Plaintiff refers the Court to Plaintiff’s letter regarding confidential treatment filed on August 5,
2022 (ECF No. 50) with respect to Defendants’ letter to seal the same information.
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  Relatedly, Defendants have obstructed Plaintiff’s efforts to obtain further evidence by failing to
properly preserve, collect, and produce an entire category of relevant documents while trying to
run out the clock to avoid related motion practice. As such, Plaintiff will concurrently file a
separate pre-motion letter relating to these discovery abuses.
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     also to argue that Dr. Carmody cannot demonstrate discriminatory intent sufficient to overcome
     the basis they have provided for her termination. See id. Not only is this argument wrong—
     Plaintiff easily meets the “low threshold, which the Supreme Court has described as minimal,”
     see Holcomb v. Iona College, 521 F.3d 130, 139 (2d Cir. 2008)—but it is premised on a
     misleadingly incomplete recitation of the evidence.

     Defendants rely on their presented reason for termination (that Dr. Carmody documented a
     physical exam in a patient chart without re-examining the patient) in a vacuum, without
     mentioning key facts that undermine it. These facts include, without limitation: (1) Defendants’
     admitted failure to terminate, discipline, or even investigate numerous known instances of
     improper patient documentation within their department—including a specific instance in which
     two male physicians committed fraud in a patient chart to intentionally cover up child abuse; (2)
     Defendants’ admitted failure to conduct an adequate investigation their alleged reason for Dr.
     Carmody’s termination, contrary to NYU’s own policies and procedures; (3) Defendants’
     admitted differential treatment of male physicians committing flagrant violations of NYU
     policies, including by conducting months-long investigations of and allowing favorable
     departures for even those male physicians who committed sexual misconduct with patients; (4)
     ample evidence demonstrating that Defendants knew that the alleged practice for which they
     terminated Dr. Carmody was widespread within their department prior to her termination, and
     their subsequent review and revision of the policies governing the same; and (5) discriminatory
     pay disparities and contractual terms between Dr. Carmody and her male comparators within
     NYU’s ED. Defendants rely solely on their fabricated “admission” of Dr. Carmody that she
     “falsified [a] patient’s medical record” as sufficient to substantiate the termination of her
     employment, which is itself contested at best (but untrue in fact). Therefore, there are genuine
     disputes of material fact regarding whether Defendants’ reason for Dr. Carmody’s termination is
     pretextual and whether the termination was in part or whole due to discrimination. See Sklaver v.
     Casso-Solar Corp., 2004 WL 1381264, at *9 (S.D.N.Y. May 15, 2004) (holding summary
     termination in violation of standard protocols as evidence of pretext).

     Defendants’ argument that Dr. Carmody’s claims against the individual Defendants other than
     Defendant Femia cannot survive because both testimony and documentary evidence implicate
     the involvement of all individual Defendants in the decision-making process. The documents
     show that Defendant Grossman directed Defendant Femia to make the decision based on his own
     consultations with Defendant Francois, and deposition testimony has confirmed that all
     individual Defendants participated in at least one call during which the decision was discussed.

     Retaliation Claims: To establish a prima facie case of retaliation Plaintiff must show (1)
     participation in a protected activity, (2) the defendant’s knowledge of the protected activity, (3)
     an adverse employment action, and (4) a causal connection between the protected activity and
     the adverse employment action. The plaintiff’s burden of proof as to these elements “has been
     characterized as minimal and de minimis.” Zann Kwan v. Andalex Grp. LLC, 737 F.3d 834, 844
     (2d Cir. 2013). Here, Dr. Carmody participated in protected activity when she repeatedly
     complained to her former supervisor (Defendant Femia) about departmental failures to promote,
     hire, and provide equal pay to women in the NYU ED, which deposition testimony confirmed
     she did steadily from 2017 to 2020. Dr. Carmody also participated in protected activity when
     she complained about the issue of a no-hire blacklist to her former supervisor in October 2020,
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     which deposition testimony confirmed was a widely known issue among the ED residency by
     that point. See Zann Kwan, 737 F.3d at 839 & 844 (finding defendant’s denial that plaintiff ever
     raised protected activity to be insufficient to grant summary judgment on retaliation claim).

     The temporal relationship between Plaintiff’s complaints and Defendant’s abrupt disposal of her
     is sufficient to establish a causal connection between the two. See Lovejoy-Wilson v. NOCO
     Motor Fuel, Inc., 263 F.3d 208, 224 (2d Cir. 2001) (“The casual connection needed for proof of
     a retaliation claim can be established indirectly by showing that the protected activity was
     closely followed in time by the adverse action.”); Espinal v. Goord, 558 F.3d 119, 129 (2d Cir.
     2009) (six-month period between protected activity and adverse action would permit a finding of
     causal connection where defendant may have waited to retaliate until there was an “opportune
     time” that could provide a lawful explanation for its actions). This causal relationship is
     bolstered by evidence that after Dr. Carmody’s termination, Defendant Femia boasted that he got
     rid of two “disruptive” faculty members—the other of which documents show was fired for
     participation in advocacy. The relationship between the protected activities and the adverse
     action “is particularly poorly suited to disposition by summary judgment, because it requires
     weighing of the disputed facts” better suited for a jury. Zann Kwan, 737 F.3d at 846 n.5.

     Defamation Claims: There are genuine disputes of material facts with respect to Dr. Carmody’s
     defamation claims. Testimonial and documentary evidence adduced to date shows that every one
     of individual Defendants made statements to at least one third party in the medical field about
     Dr. Carmody’s treatment of a patient that were inconsistent with known facts, including
     statements about Dr. Carmody’s failure to diagnose sepsis and pyelonephritis in a patient (both
     contradicted by NYU medical records possessed and reviewed at the time) and the patient’s
     resulting near-death encounter (contradicted by all documents and testimony), as well as Dr.
     Carmody’s commission of “fraud” when attesting to the patient’s medical chart. Defendants
     have admitted to an unreasonably negligent review of existing medical documentation prior to
     making these reckless statements, including by, among other things, failing to obtain full patient
     records or review those available; given that Defendants adamantly deny that Dr. Carmody’s
     patient care was the reason for her termination, there was no reason for these statements other
     than to (successfully) harm her reputation. See D’Amico v. Zingaro, 132 A.D..3d 805, 806-7 (NY
     App. Div., 2d Dept 2016). Furthermore, Defendants have testified to their understanding that Dr.
     Carmody had no motive nor intent to commit “fraud” such that they knew she had not committed
     the same at the time any contrary statements were made.

     Breach of Contract Claim: There are genuine disputes over material facts concerning whether
     Defendants breached their contract with Dr. Carmody when they engaged in discriminatory and
     retaliatory misconduct in violation of NYU’s policies, and failed to provide her with required
     notice of termination (or any other standard due process measure). Dr. Carmody alleges a verbal
     understanding between herself and Defendant Femia that her employment contract with NYU
     automatically renewed each year for a one-year term, and continued to hold her
     position/responsibilities for numerous years on end. See Cinefot Intern. Corp. v. Hudson
     Photographic Ind., 13 N.Y.2d 249, 252-3 (N.Y. 1963). She therefore disputes at-will employee
     status, and Defendants have not disproved her contentions nor provided evidence of their
     compliance with the terms and conditions of her contract when carrying out her termination.
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     Dated: August 9, 2022                           Respectfully submitted,



                                                     Damian R. Cavaleri


     cc:   All counsel of record (via ECF)
